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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                        MELISSA RYAN,
                                   7                                                      Case No. 23-cv-05968-DMR
                                                      Plaintiff,
                                   8
                                                v.                                        SUA SPONTE JUDICIAL REFERRAL
                                   9                                                      FOR PURPOSES OF DETERMINING
                                        23ANDME, INC.,                                    RELATIONSHIP OF CASES
                                  10
                                                      Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On 11/17/2023, Plaintiff filed this action. Pursuant to Civil Local Rule 3-12(c), the court

                                  14   sua sponte refers this case to Judge Edward M. Chen to determine whether it is related to Santana

                                  15   et al v. 23andMe, Inc., 23-cv-05147-EMC.

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                                  17          IT IS SO ORDERED.

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                                  19   Dated: November 21, 2023

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                                  21                                                                Donna M. Ryu
                                                                                                 Chief Magistrate Judge
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